
652 S.E.2d 644 (2007)
In the Matter of J.E., Q.D.
No. 297A07.
Supreme Court of North Carolina.
October 11, 2007.
Pamela Newell Williams, Matthew McKay, Attorney Advocate, for Guardian ad Litem.
Tyrone C. Wade, Charlotte, for Mcklenburg County DSS.
The following order has been entered on the motion filed on the 10th day of September 2007 by Respondent (Mother) to Impose Sanction of ordering Williams to reimburse IDS for Appellee counsel's attorney's fees for responding to Williams' Motion to Amend Record on Appeal:
"Motion Denied by order of the Court in conference this the 11th day of October 2007."
